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 EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT




                                                          Case No. 2:25-cv-00389




​


    PETITIONER’S FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

       Petitioner Mohsen Mahdawi, by and through his undersigned attorneys, requests that

Respondents produce the documents described in Schedule A (the “Requests”), in accordance with

the definitions and instructions set forth in Schedule B, for inspection and copying by electronic

delivery to Luna Droubi, Beldock, Levine & Hoffman LLP, 99 Park Avenue, New York, N.Y.

10016, at ldroubi@blhny.com, within 14 days of service of the request.
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    Dated: ​June 11, 2025​              Respectfully submitted,
    ​      Burlington, Vermont

​
                                        ____________
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    Hillary A. Rich                     GROUP
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                                        ***Pro Hac Vice application forthcoming

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                                            SCHEDULE A

       1.​      All Documents and Communications concerning the planning, execution, and

implementation of the decision to take any adverse action against Petitioner, including the

investigation, arrest, transfer (or attempted transfer), and detention of Petitioner, including:

                a.​ All Documents and Communications concerning the decision to schedule

                   Petitioner for a citizenship interview and to detain him at that interview.

                b.​ All   Documents      and    Communications        concerning     the   decision   to

                   transfer/transport Petitioner out of Vermont.

                c.​ All Documents and Communications concerning the booking of flights to

                   transport Petitioner out of Vermont.

       2.​      All Documents and Communications concerning Executive Order 14161 and

Executive Order 14188 and its accompanying fact sheet, including:

                a.​ All Documents and Communications referencing Petitioner or Columbia

                   University pursuant to Section 3(a) of Executive Order 14188.

                b.​ All Documents or Communications references Petitioner pursuant to Section 2(b)

                   of Executive Order 14161.

       3.​      All Documents and Communications concerning the Rubio Memorandum,

including:

                a.​ All Documents and Communications attached to or related to the Rubio

                   Memorandum, or that form the basis of the Rubio Memorandum.

                b.​ The “information provided by DHS/ICE/HSI” referenced in the Rubio
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      Memorandum and the “[a]ttachments,” including a “DHS Letter on Mohsen

      Mahdawi” and an “HSI Subject Profile of Mohsen Mahdawi.”

   c.​ All Documents and Communications concerning the invocation of 8 U.S.C. §

      1227(a)(4)(C) as to Petitioner or other individuals, including all other

      memoranda issued by Secretary of State Rubio concerning other individuals

      targeted as a consequence of their speech or expressive conduct related to

      Palestine or Israel.

   d.​ All Documents and Communications that Respondents contend provided grounds

      for Secretary of State Rubio to believe that Petitioner’s continued presence or

      activities in the United States would have potentially serious adverse foreign

      policy consequences for the United States.

   e.​ Documents sufficient to show all information considered by Secretary of State

      Rubio in determining that Petitioner’s continued presence or activities in the

      United States would compromise a compelling United States foreign policy

      interest.

   f.​ All Documents and Communications concerning Petitioner’s “past, current or

      expected beliefs, statements, or associations” considered by, presented to, or

      compiled for Secretary of State Rubio in creating, drafting and issuing the Rubio

      Memorandum.

   g.​ Documents sufficient to show all information considered in determining that

      Petitioner’s “past, current or expected beliefs, statements, or associations” are

      lawful, pursuant to 8 U.S.C. § 1227(a)(4)(C).

   h.​ All Documents and Communications concerning the interpretation of 8 U.S.C. §

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                   1227(a)(4)(C).

                i.​ All Documents and Communications concerning the notification to the chairmen

                   of the Committees on the Judiciary and Foreign Affairs of the House of

                   Representatives and of the Committees on the Judiciary and Foreign Relations of

                   the Senate, regarding the determination under 8 U.S.C. § 1227(a)(4)(C)(iii).

       4.​      All Communications between Executive Branch Officials and foreign governments,

foreign government officials, international organizations, non-governmental organizations, and

other third-parties regarding Petitioner, and all Documents reflecting or referencing such

Communications, including:

                a.​ All Documents concerning and Communications with Betar US, Canary Mission,

                   and the Heritage Foundation concerning Petitioner.

                b.​ All Documents and Communications between Respondents and Columbia

                   University regarding Petitioner.

       5.​      All Documents and Communications concerning policies or directives for

identifying non-citizen student activists for detention and/or removal.

       6.​      All Documents and Communications produced by the defendants in discovery in

American Association of University Professors v. Rubio, No. 25-cv-10685 (D. Mass.), including all

responses to the plaintiffs’ requests for production, interrogatories, and requests for admission.

       7.​      All Documents and Communications Respondents will offer in support of their

arguments that Petitioner’s claims should fail.




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                                          SCHEDULE B

                                             Definitions

       1.​      “Petitioner” means Mohsen Mahdawi, whether referenced by name or A-number.

       2.​      “Respondents” means Donald Trump, in his official capacity as President of the

United States; Patricia Hyde, in her official capacity as Acting Boston Field Office Director;

Vermont Sub-Office Director Of Immigration And Customs Enforcement; Todd M. Lyons, in his

official capacity as Acting Director For U.S. Immigration And Customs Enforcement; Kristi

Noem, in her official capacity as Secretary Of The United States Department Of Homeland

Security; Marco Rubio, in his official capacity as Secretary Of State; and Pamela Bondi, in her

official capacity as Attorney General Of The United States.

       3.​      “Document(s)” means the documents and electronically stored information as

defined in Fed. R. Civ. P. 34(a)(1), including all writings, correspondence, notes, books,

memoranda, e-mails, computer print-outs, Internet web pages, invoices, contracts, drafts, purchase

orders, receipts, pamphlets, publications, studies, reports, catalogs, periodicals, labels, packaging,

displays, advertisements, promotional materials, photographs, slides, videotapes, films, artwork,

drawings, sketches, illustrative materials, circulars, price lists, layouts, tear sheets, magnetic

recording tapes, microfilms, computer disks, computer records or data, and other storage means by

which information is retained in retrievable form, and all other materials, whether printed,

typewritten, handwritten, recorded or reproduced by any mechanical or electronic process,

including information stored on a computer hard drive.

       4.​      “Communication(s)” means the act or fact of any transmission, exchange or transfer

of information, including the memorialization of meetings or agreements between or among any

persons or entities, including letters, numbers, images, symbols, data, photographs, and sound by

any means, including face-to-face, telephone conversations, letters, memoranda, notes, messages,

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summaries, photographs, audiotapes, videotapes, electronic or computer mail or messages,

voicemails, texts, documents, or other writing materials. Communication(s) as defined herein

includes the term “document(s)” as defined above.

       5.​      “Petition” refers to the Petition for a Writ of Habeas Corpus filed by Petitioner on

April 14, 2025 (ECF No. 1).

       6.​      “Rubio Memorandum” means the Memorandum for the Secretary of Homeland

Security, from Marco Rubio, dated March 15, 2025 (ECF No. 42-1).

       7.​      The word “including” means “including, but not limited to.”

       8.​      The use of present tense includes past tense, and vice versa.

       9.​      The use of the singular form of any word includes the plural and vice versa.

                                              Instructions

       The following instructions apply to the Requests above and should be considered as part of

each Request:

       1.​      Unless otherwise indicated, the time period covered by these Requests is January 20,

2025 to present, and shall include all documents prepared, sent, dated, received, or used at any time

during that period, and shall also include all documents which relate in whole or in part to such

period. If the date to which a document relates cannot be determined, the document shall be

produced if otherwise responsive to the Requests.

       2.​      If Respondents object to any portion of any request, Respondents should identify the

portion to which they object, state the basis for the objection, and respond to the remainder.

       3.​      These Requests are intended to cover all documents in the possession of, or subject

to the custody or control of Respondents, regardless of the location of such documents, including

documents in the possession, custody, or control of each of Respondents’ agents, employees,

officers, directors, representatives, attorneys, advisors, consultants, or contractors.

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       4.​       In producing documents, all documents that are physically attached to each other

shall be produced in that form. Documents that are segregated or separated from other documents,

whether by inclusion in binders, files or sub-files, or by the use of dividers, tabs, or any other

method, shall be produced in that format. Documents shall be produced in the order and form in

which they are maintained. Documents shall be produced with a legend that indicates the particular

Respondent producing the document.

       5. ​      Electronically stored information (“ESI”) is to be produced in its native electronic

form, with all system and imbedded metadata intact. In addition, ESI is to be produced as TIFF

images, with the exception of source code, audio, video, and spreadsheet-type files (including,

without limitation, Microsoft Excel or CSV files), which shall be produced in native format. All ESI

shall be produced with a delimited database load file. Documents shall not be converted to any

other format, including without limitation, .pdf or .TIFF format, that in any way limits, destroys,

modifies, or restricts system or imbedded metadata. If a document is maintained in both electronic

and non-electronic form, the electronic form of the document is to be produced in its native

electronic form, with all system and imbedded metadata intact.

       6.​       If any document or any portion thereof responsive to any request has been discarded,

destroyed, or redacted, in whole or in part, state: (i) the date the document was discarded or

destroyed; (ii) the reason the document was discarded or destroyed; (iii) the person who discarded

or destroyed the document; and (iv) where the document was maintained prior to its destruction.

       7.​       In responding to these Requests, make a diligent search of any and all Documents

that are in the possession, custody or control, or otherwise available to each of the Respondents and

furnish all Documents available to Respondents. If there are no Documents responsive to any

particular Request, state so in writing.

       8.​       With respect to each request for which a claim of privilege or work product

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immunity is asserted, in whole or in part, abide by any stipulation and/or order regarding the

withholding of privileged information. If no such stipulation or order has been agreed to or entered,

produce as much of the document concerned as to which no claim of privilege or work product

immunity is made. With respect to documents or portions of documents for which a claim of

privilege or work product immunity is asserted, provide a privilege log containing all information

required by Federal Rule of Civil Procedure 26(b)(5) to support the application of any privilege or

immunity, including: (i) all author(s) and recipient(s) of the communication, information, or

document; (ii) the date of the communication, information, or document; (iii) the identity of any

enclosure(s) or attachment(s); (iv) the type of the communication, information, or document (e.g.,

letter or memorandum); (v) the subject matter of the communication, information, or document; and

(vi) the ground upon which the communication, information, or document is withheld from

production, including all facts constituting the basis for withholding the Document in sufficient

detail to permit the Court to adjudicate the validity of the claim. Provide the same information

referenced above for each enclosure or attachment to each listed document if the enclosure or

attachment is also withheld from production.

       9.​      In these Requests, including the definitions set forth above, references to any entity

include the entity and any Person or entity under its control, including any present and former

subsidiaries, predecessors, successors, officers, directors, agents, employees, members, attorneys

(both in-house and outside attorneys), shareholders, partnerships, general and limited partners

thereof and any aliases, code names, or trade or business names used by any of the foregoing.

       10.​     In these Requests, including the definitions set forth above, references to any

individual include the individual and any Person or entity under that individual’s control, including

all present and former subsidiaries, predecessors, successors, officers, directors, agents, employees,

members, attorneys (both in-house and outside attorneys), shareholders, partnerships, general and

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limited partners thereof and any aliases, code names, or trade or business names used by any of the

foregoing.

        11.​    None of the Requests set forth above should be construed as an admission as to any

legal or factual matter in dispute between the parties.

        12.​    Notwithstanding anything to the contrary herein, each word, term, or phrase in these

Requests is intended to have the broadest meaning permitted under the Federal Rules of Civil

Procedure and Local Civil Rules.

        13.​    These Requests seek all versions of the Documents and Communications, including

drafts and superseded versions;

        14.​    These Requests are continuing in nature. Respondents are obligated to supplement

their responses to include information and documents acquired or discovered after the date of their

initial response.




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                                    CERTIFICATE OF SERVICE

       I, ________________, hereby certify that I caused a true and correct copy of the foregoing

Petitioners’ First Requests for Production of Documents to be served on _____________2025, by

electronic mail on the following:


Michael Drescher
Assistant United States Attorney
District of Vermont
michael.drescher@usdoj.gov


Dated: ____________, 2025 ​​          ​     ​        ​       /s/ ________________________




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